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 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Vayo Management, LLC, a                   Act; Unruh Civil Rights Act
       California Limited Liability
15     Company;
       Sunshine Distributors, Inc., a
16     California Corporation

17               Defendants.

18
19         Plaintiff Orlando Garcia complains of Vayo Management, LLC, a

20   California Limited Liability Company; Sunshine Distributors, Inc., a

21   California Corporation; and alleges as follows:

22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

25   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

26   dexterity issues. He uses a wheelchair for mobility.

27     2. Defendant Vayo Management, LLC owned the real property located at

28   or about 9230 S Broadway, Los Angeles, California, in November 2020.


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 1     3. Defendant Vayo Management, LLC owns the real property located at or
 2   about 9230 S Broadway, Los Angeles, California, currently.
 3     4. Defendant Sunshine Distributors, Inc. owned Dick’s Liquor located at
 4   or about 9230 S Broadway, Los Angeles, California, in November 2020.
 5     5. Defendant Sunshine Distributors, Inc. owns Dick’s Liquor (“Store”)
 6   located at or about 9230 S Broadway, Los Angeles, California, currently.
 7     6. Plaintiff does not know the true names of Defendants, their business
 8   capacities, their ownership connection to the property and business, or their
 9   relative responsibilities in causing the access violations herein complained of,
10   and alleges a joint venture and common enterprise by all such Defendants.
11   Plaintiff is informed and believes that each of the Defendants herein is
12   responsible in some capacity for the events herein alleged, or is a necessary
13   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
14   the true names, capacities, connections, and responsibilities of the Defendants
15   are ascertained.
16
17     JURISDICTION & VENUE:
18     7. The Court has subject matter jurisdiction over the action pursuant to 28
19   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
20   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
21     8. Pursuant to supplemental jurisdiction, an attendant and related cause
22   of action, arising from the same nucleus of operative facts and arising out of
23   the same transactions, is also brought under California’s Unruh Civil Rights
24   Act, which act expressly incorporates the Americans with Disabilities Act.
25     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
26   founded on the fact that the real property which is the subject of this action is
27   located in this district and that Plaintiff's cause of action arose in this district.
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 1     FACTUAL ALLEGATIONS:
 2     10. Plaintiff went to the Store in November 2020 with the intention to avail
 3   himself of its goods and to assess the business for compliance with the
 4   disability access laws.
 5     11. The Store is a facility open to the public, a place of public
 6   accommodation, and a business establishment.
 7     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 8   to provide wheelchair accessible sales counters in conformance with the ADA
 9   Standards as it relates to wheelchair users like the plaintiff.
10     13. The Store provides sales counters to its customers but fails to provide
11   any wheelchair accessible sales counters.
12     14. The problems that plaintiff encountered was that the sales counter was
13   too high and there was no lowered portion of the sales counter suitable for
14   wheelchair users.
15     15. Plaintiff believes that there are other features of the sales counters that
16   likely fail to comply with the ADA Standards and seeks to have fully compliant
17   sales counters available for wheelchair users.
18     16. On information and belief, the defendants currently fail to provide
19   wheelchair accessible sales counters.
20     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
21   provide wheelchair accessible paths of travel in conformance with the ADA
22   Standards as it relates to wheelchair users like the plaintiff.
23     18. The Store provides paths of travel to its customers but fails to provide
24   any wheelchair accessible paths of travel.
25     19. A couple of problems that plaintiff encountered is that the ramp that
26   runs up to the entrance did not have a level landing. What is more, the ramp
27   had a slope that was too steep for plaintiff.
28     20. Plaintiff believes that there are other features of the paths of travel that


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 1   likely fail to comply with the ADA Standards and seeks to have fully compliant
 2   paths of travel available for wheelchair users.
 3     21. On information and belief, the defendants currently fail to provide
 4   wheelchair accessible paths of travel.
 5     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 6   personally encountered these barriers.
 7     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
 8   wheelchair accessible facilities. By failing to provide accessible facilities, the
 9   defendants denied the plaintiff full and equal access.
10     24. The failure to provide accessible facilities created difficulty and
11   discomfort for the Plaintiff.
12     25. The defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15     26. The barriers identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the
17   Department of Justice as presumably readily achievable to remove and, in fact,
18   these barriers are readily achievable to remove. Moreover, there are numerous
19   alternative accommodations that could be made to provide a greater level of
20   access if complete removal were not achievable.
21     27. Plaintiff will return to the Store to avail himself of its goods and to
22   determine compliance with the disability access laws once it is represented to
23   him that the Store and its facilities are accessible. Plaintiff is currently deterred
24   from doing so because of his knowledge of the existing barriers and his
25   uncertainty about the existence of yet other barriers on the site. If the barriers
26   are not removed, the plaintiff will face unlawful and discriminatory barriers
27   again.
28     28. Given the obvious and blatant nature of the barriers and violations


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 1   alleged herein, the plaintiff alleges, on information and belief, that there are
 2   other violations and barriers on the site that relate to his disability. Plaintiff will
 3   amend the complaint, to provide proper notice regarding the scope of this
 4   lawsuit, once he conducts a site inspection. However, please be on notice that
 5   the plaintiff seeks to have all barriers related to his disability remedied. See
 6   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 7   encounters one barrier at a site, he can sue to have all barriers that relate to his
 8   disability removed regardless of whether he personally encountered them).
 9
10   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
11   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
12   Defendants.) (42 U.S.C. section 12101, et seq.)
13     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
14   again herein, the allegations contained in all prior paragraphs of this
15   complaint.
16     30. Under the ADA, it is an act of discrimination to fail to ensure that the
17   privileges, advantages, accommodations, facilities, goods and services of any
18   place of public accommodation is offered on a full and equal basis by anyone
19   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
20   § 12182(a). Discrimination is defined, inter alia, as follows:
21             a. A failure to make reasonable modifications in policies, practices,
22                or procedures, when such modifications are necessary to afford
23                goods,     services,     facilities,   privileges,    advantages,      or
24                accommodations to individuals with disabilities, unless the
25                accommodation would work a fundamental alteration of those
26                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
27             b. A failure to remove architectural barriers where such removal is
28                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are


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 1                defined by reference to the ADA Standards.
 2            c. A failure to make alterations in such a manner that, to the
 3                maximum extent feasible, the altered portions of the facility are
 4                readily accessible to and usable by individuals with disabilities,
 5                including individuals who use wheelchairs or to ensure that, to the
 6                maximum extent feasible, the path of travel to the altered area and
 7                the bathrooms, telephones, and drinking fountains serving the
 8                altered area, are readily accessible to and usable by individuals
 9                with disabilities. 42 U.S.C. § 12183(a)(2).
10     31. When a business provides facilities such as sales or transaction counters,
11   it must provide accessible sales or transaction counters.
12     32. Here, accessible sales or transaction counters have not been provided in
13   conformance with the ADA Standards.
14     33. When a business provides paths of travel, it must provide accessible
15   paths of travel.
16     34. Here, accessible paths of travel have not been provided in conformance
17   with the ADA Standards.
18     35. The Safe Harbor provisions of the 2010 Standards are not applicable
19   here because the conditions challenged in this lawsuit do not comply with the
20   1991 Standards.
21     36. A public accommodation must maintain in operable working condition
22   those features of its facilities and equipment that are required to be readily
23   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
24     37. Here, the failure to ensure that the accessible facilities were available
25   and ready to be used by the plaintiff is a violation of the law.
26
27   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
28   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.


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 1   Code § 51-53.)
 2      38. Plaintiff repleads and incorporates by reference, as if fully set forth
 3   again herein, the allegations contained in all prior paragraphs of this
 4   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 5   that persons with disabilities are entitled to full and equal accommodations,
 6   advantages, facilities, privileges, or services in all business establishment of
 7   every kind whatsoever within the jurisdiction of the State of California. Cal.
 8   Civ. Code §51(b).
 9      39. The Unruh Act provides that a violation of the ADA is a violation of the
10   Unruh Act. Cal. Civ. Code, § 51(f).
11      40. Defendants’ acts and omissions, as herein alleged, have violated the
12   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
13   rights to full and equal use of the accommodations, advantages, facilities,
14   privileges, or services offered.
15      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
16   discomfort or embarrassment for the plaintiff, the defendants are also each
17   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
18   (c).
19
20            PRAYER:
21            Wherefore, Plaintiff prays that this Court award damages and provide
22   relief as follows:
23          1. For injunctive relief, compelling Defendants to comply with the
24   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
25   plaintiff is not invoking section 55 of the California Civil Code and is not
26   seeking injunctive relief under the Disabled Persons Act at all.
27          2. Damages under the Unruh Civil Rights Act, which provides for actual
28   damages and a statutory minimum of $4,000 for each offense.


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 1      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 2   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 3
 4   Dated: December 4, 2020         CENTER FOR DISABILITY ACCESS
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 6
 7                                   By:
                                     _______________________
 8
                                           Russell Handy, Esq.
 9                                         Attorney for plaintiff
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